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 6   Attorney for Defendant,
     ANDREW CONWAY
 7

 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:06-cr-00476-03-MCE
11

12
                 Plaintiff,                            STIPULATION AND ORDER

13        vs.                                          DATE: July 3, 2008
                                                       TIME: 9:00 AM
14   ANDREW CONWAY,                                    JUDGE: Hon. Morrison England

15               Defendant.

16

17          It is hereby stipulated and agreed to between the United States of America through Jason
18   Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan
19
     Koukol, that the status conference of July 3, 2008 be vacated and that a status conference be set
20
     for August 28, 2008 at 9:00 AM.
21
            This continuance is being requested because the parties need additional time to discuss
22
     the case with the government and negotiate plea agreements.
23
            //
24
            //
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26
            //

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 1          The parties request that the speedy trial time is excluded from the date of this order

 2   through the date of the status conference set for August 28, 2008 at 9:00 AM pursuant to 18
 3
     U.S.C. § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
 4

 5   DATED: JULY 1, 2008                         Respectfully submitted,

 6
                                         /s/ DAN KOUKOL
 7                                       _________________________________
                                         DAN KOUKOL
 8                                       Attorney for defendant Andrew Conway
 9

10
     DATED: JULY 1, 2008                         Respectfully submitted,
11

12                                       /s/ DAN KOUKOL FOR
                                         _________________________________
13                                       Jason Hitt
                                         Assistant U.S. Attorney
14
     IT IS SO ORDERED
15

16
     DATED: July 23, 2008

17                                   __________________________________
                                     MORRISON C. ENGLAND, JR
18                                   UNITED STATES DISTRICT JUDGE

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